                    IN THE UNITED STATES BANKRUPTCY COURT
                        MIDDLE DISTRICT OF PENNSYLVANIA


NUTRITION CORP, INC                        :      1-24-BK-01672
d/b/a FRESHNLEAN                           :
                 Debtors                   :      Chapter 7
                                           :
BRIDGE LEASING GROUP, LLC                  :
                Movant                     :
                                           :
              V.                           :
                                           :
KARA K. GENDRON, Trustee                   :
               Respondent                  :

                                          ORDER

        Upon consideration of the Motion filed by Bridge Leasing Group, LLC, and it appearing
that the Trustee has concurred it is hereby:

       ORDERED that the Equipment Lease dated April 27, 2023 between Debtor and Bridge
Leasing Group, LLC for a Spiral Oven and components and an Incline Conveyor and Rotary
Drum Blancher is hereby deemed to be rejected by the Trustee pursuant to 11 USC 365.




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